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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NORTHERN ILLINOIS

ASTELLAS US HOLDING, INC.,                             )
                                                       )
                                                       )
                    Plaintiff,                         )
                                                       )
        vs.                                            )   Case No. ____________
                                                       )
STARR INDEMNITY AND LIABILITY                          )   Judge _______________
COMPANY,                                               )
                                                       )
and                                                    )
                                                       )
BEAZLEY INSURANCE COMPANY, INC.,                       )   DEMAND FOR JURY TRIAL
                                                       )
and                                                    )
                                                       )
FEDERAL INSURANCE COMPANY,                             )
                                                       )
                   Defendants.                         )


                                              COMPLAINT

        1.          Plaintiff, Astellas US Holding, Inc. (“Astellas” or the “Company”), for its

Complaint against Defendants, Starr Indemnity and Liability Company (“Starr”), Beazley

Insurance Company, Inc. (“Beazley”), and Federal Insurance Company (“Federal”), states as

follows:

                                      NATURE OF THE ACTION

        2.          In this action, Astellas seeks compensatory damages for Starr’s breach of its

duties under an insurance policy it issued to Astellas, which provides broad coverage for defense

costs arising from alleged Wrongful Acts 1 by Astellas. Astellas seeks damages it suffered due

to Starr’s refusal to reimburse Astellas for Defense Costs (i.e., covered defense and investigation


        1
            Terms in bold letters shall have the meanings ascribed to them in Exhibit A.



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costs) that Astellas incurred, and continues to incur, to defend and investigate a Claim asserted

by the United States Government for alleged Federal health care offenses. Astellas also seeks a

declaration that Beazley, whose policy is excess to Starr’s, must indemnify Astellas for all

Defense Costs relating to this Claim in excess of the retention and the underlying limit of

$5 million, up to its policy’s limit of $5 million. Finally, Astellas seeks a declaration that

Federal, whose policy is excess to Starr’s and Beazley’s, must indemnify Astellas for Defense

Costs relating to this Claim upon exhaustion of the $10 million in underlying limits, up to its

policy’s limit of $10 million.

                                             THE PARTIES

        3.         Astellas is a corporation organized and existing under the laws of Delaware, with

its principal place of business in Northbrook, Illinois.

        4.         Starr is a corporation organized and existing under the laws of Texas, with its

principal place of business in New York, New York.

        5.         Beazley is a corporation organized and existing under the laws of Connecticut,

with its principal place of business in Farmington, Connecticut.

        6.         Federal is a corporation organized and existing under the laws of Indiana, with its

principal place of business in Warren, New Jersey. (Starr, Beazley and Federal are collectively

referred to herein as “Defendants”).

                                    JURISDICTION AND VENUE

        7.         This Court has jurisdiction over the claims asserted in this Complaint pursuant to

28 U.S.C. § 1332 because Astellas is not a citizen of the same states as Defendants, and the

amount in controversy exceeds $75,000, exclusive of interests and costs.

        8.         Venue is proper in the District of the Northern District of Illinois because a

substantial part of the events and transactions giving rise to the controversy occurred in Illinois,


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as required by 28 U.S.C. § 1391. Among other things, Defendants delivered the insurance

policies at issue to Astellas’s offices in Illinois; Astellas approved and initiated payment of

premiums for the policies from Illinois; and the financial harm to Astellas as a result of Starr’s

wrongful conduct occurred and is occurring in Illinois.

        9.         Personal jurisdiction in Illinois is proper because, at all relevant times, Defendants

have been licensed or authorized to sell insurance in and have transacted business in Illinois,

including with Astellas as to the policies at issue in this action. Defendants also performed acts

within Illinois for the purpose of realizing pecuniary benefit, namely contracting to insure

persons, property, or risks located in Illinois, including collecting premiums for the policies at

issue in this action.

                                         THE STARR POLICY

        10.        Starr provided Directors and Officers Liability Coverage (“D&O Coverage”)

under a “Resolute Portfolio For Private Companies” insurance policy to Astellas for the period

April 1, 2015 to April 1, 2016 (the “Starr Policy,” Exhibit A). Subject to its terms and

conditions, the Starr Policy provides a $5 million limit of liability excess of a $500,000 self-

insured retention.

        11.        The applicable insuring agreements in the Starr Policy provide, in relevant part:

        1.         INSURING AGREEMENTS

        A.         The Insurer shall pay on behalf of any Insured Person the Loss
                   arising from a Claim first made during the Policy Period . . .
                   against such Insured Person for any Wrongful Act, and reported
                   to the Insurer in accordance with the terms of this policy, except if
                   the Company has indemnified the Insured Person for such Loss.

        B.         The Insurer shall pay on behalf of the Company the Loss arising
                   from a Claim first made during the Policy Period . . . against any
                   Insured Person for any Wrongful Act, and reported to the
                   Insurer in accordance with the terms of this policy, if the
                   Company has indemnified the Insured Person for such Loss.


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        C.         The Insurer shall pay on behalf of the Company the Loss arising
                   from a Claim first made during the Policy Period . . . against the
                   Company for any Wrongful Act, and reported to the Insurer in
                   accordance with the terms of this policy.

(Policy, D&O Liability Coverage Section, at p. 1.)

        12.        The term “Claim” is expansively defined to include any “(1) written demand for

monetary, non-monetary or injunctive relief made against an Insured.”

        13.        The term “Wrongful Act” is also defined broadly as, in relevant part:

                   (1)    with respect to an Insured Person, any actual or alleged
                          act, error, omission, neglect, breach of duty, breach of trust,
                          misstatement, or misleading statement by an Insured
                          Person in his or her capacity as such or any matter claimed
                          against an Insured Person by reason of such capacity;

                          ***

                   (3)    with respect to the Company, any actual or alleged breach
                          of duty, neglect, error, misstatement, misleading statement,
                          omission or act by the Company.

        14.        The term “Loss” includes “damages, settlements or judgments” and “Defense

Costs.” Defense Costs means “reasonable and necessary fees, costs, charges or expenses

resulting from the investigation, defense or appeal of a Claim.”

        15.        General Condition 5, NOTICE OF CLAIM, provides in relevant part:

                          The Insured(s) shall, as a condition precedent to the
                          obligations of the Insurer under this policy, give written
                          notice of a Claim . . . to the Insurer at the address set forth
                          in Item 9 of the Declarations. * * *

                          With respect to the Directors & Officers Liability Coverage
                          Section, the Insured(s) shall, as a condition precedent to
                          the obligations of the Insurer under this policy, give
                          written notice to the Insurer pursuant to this Clause 5, of a
                          Claim made against an Insured as soon as practicable after
                          the Company’s general counsel or risk manager (or
                          individuals with equivalent responsibilities) becomes aware
                          of the Claim; however, in no event shall such notice be



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                          provided later than sixty (60) days after the expiration of
                          the Policy Period. * * *

                           THE BEAZLEY AND FEDERAL POLICIES

        16.        Beazley provided excess D&O Coverage to Astellas under an “Excess Private

Companies Insurance Policy” covering the period April 1, 2015 to April 1, 2016 (the “Beazley

Policy,” Exhibit B). Except where it is specifically modified (not relevant here), the Beazley

Policy follows the terms and conditions of the Starr Policy, providing a $5 million limit of

liability excess of the Starr Policy’s $5 million limit of liability and the applicable $500,000 self-

insured retention. The Beazley Policy covers Loss (including Defense Costs) after all of the

Underlying Limits (as that term is defined in the Beazley Policy) have been exhausted through

payments of amounts covered under the Starr Policy.

        17.        Federal provided excess D&O Coverage to Astellas under an “Excess Policy”

covering the period April 1, 2015 to April 1, 2016 (the “Federal Policy,” Exhibit C). Except

where it is specifically modified (not relevant here), the Federal Policy follows the terms and

conditions of the Starr Policy, providing a $10 million limit of liability excess of the Starr

Policy’s and the Beazley Policy’s combined limits of $10 million and the applicable $500,000

self-insured retention. The Federal Policy covers Loss (including Defense Costs) after all of the

Underlying Limits (as that term is defined in the Federal Policy) have been exhausted through

payments of amounts covered under the Starr and Beazley Policies.

                                             THE CLAIM

        18.        In November 2005, the Department of Health and Human Services, Office of

Inspector General (“OIG”) issued a Special Advisory Bulletin titled “Patient Assistance

Programs for Medicare Part D Enrollees” (the “OIG Bulletin”). The OIG Bulletin advised that

beginning January 1, 2006, Medicare Part D would offer enrollees broad coverage for outpatient



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prescription drugs and Medicare beneficiaries who enroll in Part D would no longer be eligible

to participate in patient assistance programs (“PAPs”) historically sponsored by pharmaceutical

companies. The OIG Bulletin further stated:

                   Pharmaceutical manufacturers have expressed interest in
                   continuing to assist Medicare Part D enrollees of limited means
                   who do not qualify for the low-income subsidy.

                   OIG is mindful of the importance of ensuring that financially
                   needy beneficiaries who enroll in Part D receive medically
                   necessary drugs, and OIG supports efforts of charitable
                   organizations and others to assist financially needy beneficiaries,
                   as long as the assistance is provided in a manner that does not run
                   afoul of the Federal anti-kickback statute or other laws. * * *

                   We have been asked whether the anti-kickback statute will be
                   implicated if pharmaceutical manufacturer PAPs continue to offer
                   assistance to financially needy Medicare beneficiaries who enroll
                   in Part D by subsidizing their cost-sharing obligations for covered
                   Part D drugs. For the reasons set forth below and consistent with
                   extant OIG guidance, we conclude that pharmaceutical
                   manufacturer PAPs that subsidize Part D cost-sharing amounts
                   present heightened risks under the anti-kickback statute. However,
                   in the circumstances described in this Bulletin, cost-sharing
                   subsidies provided by bona fide, independent charities unaffiliated
                   with pharmaceutical manufacturers should not raise anti-kickback
                   concerns, even if the charities receive manufacturer contributions.
                   In addition, we believe other arrangements described in this
                   Bulletin, if properly structured, may pose reduced risk. Thus, we
                   believe lawful avenues exist for pharmaceutical manufacturers and
                   others to help ensure that all Part D beneficiaries can afford
                   medically necessary drugs.

        19.        In May 2014, OIG issued a Supplemental Special Advisory Bulletin on

Independent Charity Patient Assistance Programs (the “Supplemental OIG Bulletin”). Among

other things, the Supplemental OIG Bulletin stated:

                   We continue to believe that properly structured PAPs can help
                   Federal health care program beneficiaries. This Supplemental
                   Bulletin provides additional guidance regarding PAPs operated by
                   independent charities (Independent Charity PAPs) that provide
                   cost-sharing assistance for prescription drugs. To address some of
                   the specific risks that have come to our attention in recent years,


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                   this guidance discusses problematic features of PAPs with respect
                   to the anti-kickback statute, section 1128B(b) of the Act, and the
                   provision of the Civil Monetary Penalties Law prohibiting
                   inducements to Medicare and Medicaid beneficiaries (Beneficiary
                   Inducements CMP), section 1128A(a)(5) of the Act. Other
                   potential risk areas, including, for example, potential liability
                   under the False Claims Act, 31 U.S.C. 3729–33, or other Federal
                   or State laws, are not addressed here.

        20.        On March 3, 2016, the U.S. Department of Justice (the “Justice Department”)

issued a subpoena to Astellas demanding certain documents relating to its ongoing industry-wide

investigation of Astellas and other pharmaceutical companies for alleged “Federal health care

offenses” (the “Subpoena”).

        21.        Specifically, the Subpoena asserted that the documents were “necessary in the

performance of the responsibility of the United States Department of Justice to investigate

Federal health care offenses, defined in 18 U.S.C. § 24(a) to mean violations of, or conspiracies

to violate: 18 U.S.C. §§ 669, 1035, 1347, or 1518; and 18 U.S.C. §§ 287, 371, 664, 666, 1001,

1027, 1341, 1343 or 1954 if the violation or conspiracy relates to a health care benefit program

(defined in 18 U.S.C. § 24(b)).” The asserted “Federal health care offenses” in this case

allegedly arise from charitable donations to Independent Charitable PAPs (as that term is used in

the Supplemental OIG Bulletin).

        22.        Among other things, the Subpoena demanded that Astellas produce “[d]ocuments

sufficient to show by date and amount all payments from Astellas to any 501(c)(3) organization

that provides financial assistance to patients taking drugs sold by Astellas, and, where applicable,

the specific fund or program within any such organization that received the payment or to which

Astellas earmarked the payment.” Each of the Defendants has a copy of the Subpoena.

        23.        Because the Subpoena was issued under the authority of 18 U.S.C. § 3486, it

constitutes an “authorized investigative demand,” which, by statute, can only be issued where



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there is an ongoing criminal investigation of “Federal health care offenses.” The Justice

Department has specifically stated that before an “authorized investigative demand” can be

issued, the U.S. Attorney must consider (1) “[w]hether the background of the criminal

investigation for which the records are being subpoenaed relates to any act or activity involving a

Federal health care offense (as defined in 18 U.S.C. § 24(a)) as required by 18 U.S.C. § 3486,”

and (2) “[w]hether appropriate consideration has been given to the manner in which to enforce

the investigative demand in the event of noncompliance.” (U.S. Attorney Manual, Health Care

Fraud, § 9-44.203, at https://www.justice.gov/usam/usam-9-44000-health-care-fraud.)

        24.        Astellas does not dispute that it provided charitable donations to independent

501(c)(3) organizations that assist financially needy patients, or that some of the patients assisted

by those organizations may have taken drugs sold by Astellas. The dispute is whether those

donations constituted “Federal health care offenses.” Astellas maintains that its donations were

lawful and appropriate and were made for the purpose of contributing to the pharmaceutical

safety net for financially needy patients, and that the donations were made in a manner consistent

with the guidance previously provided in the OIG Bulletin and, subsequently, the Supplemental

OIG Bulletin.

        25.        On or about March 11, 2016, and as soon as practicable, Astellas (through its

broker Marsh USA Inc.) gave each of the Defendants timely written notice of the Subpoena.

        26.        On March 28, 2016, Beazley reserved its rights, noting that, “[a]s an excess

carrier, Beazley cannot have any coverage obligations until the underlying layer is exhausted.

Accordingly, we ask that you provide us with a copy of the primary carrier Starr’s coverage

position issued with respect to this matter. Upon receipt and review of the same, we will provide

you with a more detailed coverage analysis on behalf of Beazley.”




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        27.        On March 15, 2016, Federal acknowledged receipt of the notice and stated that “it

must reserve the right to raise all of the defenses available to it under the policy and the law.”

        28.        On March 29, 2016, Starr denied coverage, asserting that “the Subpoena does not

currently fall within the scope of coverage afforded by the Policy.” Specifically, Starr asserted

that “the definition of Claim requires that, at the very least, there must be a written demand for

monetary, non-monetary or injunctive relief (emphasis added) made against an Insured. Here,

there has been no written demand for relief made against any Insured . . . The Subpoena simply

requests that certain documents be produced.”

        29.        Beazley and Federal both subsequently adopted the coverage positions and all

reservations of rights and defenses asserted by Starr in its March 29, 2016 letter.

        30.        Starr’s assertion that the Subpoena “simply requests that certain documents be

produced” is wrong. The Subpoena constitutes a “command” to produce documents by the

government—it is not a mere request. As noted above, the statute authorizing the issuance of

such subpoenas, 18 U.S.C. § 3486, deems such subpoenas “investigative demands.” Indeed, the

Subpoena warns that “[f]ailure to comply with the requirements of this subpoena will render you

liable to proceedings in the district Court of the United States to enforce obedience to the

requirements of this subpoena, and to punish default or disobedience.” A subpoena under

18 U.S.C.§ 3486 is therefore not a mere request for information, but a substantial demand for

compliance by a federal agency with the ability to enforce its demand.

        31.        Further, the Subpoena constitutes a demand for relief, as required for coverage

under the Policy. The phrase “a written demand for . . . non-monetary relief” is a broad one that

includes a written demand for something that the respondent (allegedly) has a legal obligation to

provide. The Justice Department thus claims a right to the subpoenaed documents, and the




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Subpoena specifically threatens liability in federal district court for failure to provide those

subpoenaed documents.

        32.        The Justice Department continues to pursue its investigation of Astellas’s

practices regarding its charitable donations to 501(c)(3) organizations, and it has subpoenaed

additional documents.

        33.        On October 19, 2017, the Justice Department requested that Astellas enter into a

Limited Tolling Agreement on Statute of Limitations (the “DOJ Limited Tolling Agreement”),

which was executed on October 26, 2017. The DOJ Limited Tolling Agreement states that, “[a]s

you are aware,” the DOJ “is currently conducting a joint criminal and civil investigation of []

Astellas, and its officers, employees, and agents.” It also states that “[t]he conduct being

investigated includes, without limitation, the possible violation by Astellas and certain of its

officers, employees, and agents of various federal criminal statutes, including, but not limited to,

42 U.S.C. § 1320a-7b (anti-kickback statute) and 18 U.S.C. § 1347 (health care fraud), and

certain civil statutes, including, but not limited to, 31 U.S.C. § 3729-33 (False Claims Act), in

connection with Astellas’s payments to ‘501(c)(3)’ organizations that provide financial

assistance to Medicare beneficiaries.”

        34.        The DOJ Limited Tolling Agreement also constitutes a Claim under the Starr

Policy and, because it arises from the same Wrongful Acts set forth in the Subpoena, it relates

back to the Starr Policy, as well as the Beazley and Federal Policies. Astellas promptly provided

notice of the DOJ Limited Tolling Agreement to Defendants.

        35.        The legal fees and expenses that Astellas has incurred since March 3, 2016 arose

from Astellas’s defense of the alleged Wrongful Acts set forth in the Subpoena and its

investigation of the facts and circumstances implicated by the Subpoena. In addition, Astellas




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has advanced costs for individual counsel for certain of its employees and officers for their

defense of these allegations.

                                FIRST CAUSE OF ACTION:
                           BREACH OF CONTRACT AGAINST STARR

        36.        Astellas repeats and re-alleges the allegations of paragraphs 1 through 35 hereof

as if they were fully set forth herein.

        37.        The Subpoena constitutes a written demand for non-monetary relief. Namely, it

demands that Astellas undertake certain actions to produce documents, all in the manner required

by the instructions set forth in the Subpoena. Accordingly, the Subpoena constitutes a Claim as

that term is defined in the Starr Policy.

        38.        Astellas’s acts set forth above, including the challenged donations to Independent

Charity PAPs, constitute Wrongful Acts as that term is defined in the Starr Policy because they

constitute “actual or alleged . . . act[s] by the Company.”

        39.        The reasonable and necessary costs of defending against and investigating the

alleged “Federal health care offenses” being investigated by the Justice Department constitute

Defense Costs, and therefore constitute covered Loss under the Starr Policy.

        40.        The Defense Costs that Astellas has incurred to date exceed the applicable

retention in the Starr Policy.

        41.        Astellas has complied with all applicable conditions of the Starr Policy.

        42.        Starr has refused to pay the amounts owed under the Starr Policy.

        43.        By reason of the foregoing, Starr is in breach of its contractual obligations under

the Starr Policy, and Astellas has incurred damages as a direct result of that breach.




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                        SECOND CAUSE OF ACTION
           DECLARATORY JUDGMENT AGAINST BEAZLEY AND FEDERAL

        44.        Astellas repeats and re-alleges the allegations of paragraphs 1 through 43 hereof

as if they were fully set forth herein.

        45.        Astellas’s defense and investigation of this Claim is ongoing. The total Defense

Costs, after deducting the self-insured retention, have exceeded or soon will exceed the amounts

of the respective Underlying Limits of the Beazley and Federal Policies.

        46.        With respect to the Subpoena, the Beazley and Federal Policies, as follow-form

policies, provide the same scope of coverage as the Starr Policy.

        47.        Section 1 of the Declaratory Judgment Act, 28 U.S.C. §§ 2201 et seq., provides in

relevant part:

                   In a case of actual controversy within its jurisdiction, . . . any court
                   of the United States . . . may declare the rights and other legal
                   relations of any interested party seeking such declaration, whether
                   or not further relief is or could be sought. Any such declaration
                   shall have the force and effect of a final judgment or decree and
                   shall be reviewable as such.

        48.        Because Beazley and Federal have refused to acknowledge coverage for Defense

Costs incurred in connection with the Subpoena upon exhaustion of their respective Underlying

Limits, an actual controversy exists by and among Astellas, Beazley and Federal regarding

Beazley’s and Federal’s respective obligations to pay Defense Costs incurred in connection with

the Subpoena.

        49.        Astellas therefore seeks a declaration that Beazley and Federal must pay, on

Astellas’s behalf, all reasonable and necessary costs of investigating and defending this Claim,

up to each Defendant’s respective limit of liability, upon exhaustion of their respective

Underlying Limits.




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                                      JURY TRIAL DEMAND

        50.        Astellas, pursuant to Rule 38 of the Federal Rules of Civil Procedure, demands

trial by jury on all issues triable of right by a jury.

                                       PRAYER FOR RELIEF

                   WHEREFORE, Astellas respectfully prays for the following:

                   A.     Judgment in favor of Astellas and against Starr on this Complaint, in an

amount to exceed $75,000;

                   B.     A declaration that Beazley and Federal must pay up to their respective

limits, on behalf of Astellas, covered Defense Costs that Astellas has incurred and will incur in

the future in defending and investigating the Subpoena once the Underlying Limits of their

respective policies have been exhausted; and




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                   C.   An Order awarding Astellas such other and further relief as the Court

deems just and proper, including, but not limited to, prejudgment interest at the applicable rate

for amounts due and owing, and the costs and expenses associated with bringing this claim.

                                              Astellas US Holding, Inc.

                                              /s/ James A. White
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Dated: November 13, 2017




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